
303 N.Y. 871 (1952)
In the Matter of Michael Sullivan, Appellant,
v.
Albert Williams, as Commissioner of The Department of Correction of the City of New York, Respondent.
Court of Appeals of the State of New York.
Submitted January 22, 1952.
Decided March 13, 1952
Jacob Schechner for appellant.
Denis M. Hurley, Corporation Counsel (Anthony Curreri and Seymour B. Quel of counsel), for respondent.
Concur: LOUGHRAN, Ch. J., LEWIS, CONWAY, DESMOND, DYE, FULD and FROESSEL, JJ.
Order affirmed, with costs; no opinion.
